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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

MCCALL LAW FIRM, PLLC, on                             )
behalf of itself and all other entities               )
and persons similarly situated,                       )
                                                      )
        Plaintiff,                                    )
                                                      )
vs.                                                   )       Case No.: 4:15-CV-737 KGB
                                                      )       JURY DEMANDED
CRYSTAL QUEEN, INC., d/b/a                            )       Judge Baker
CRYSTAL TRAINING; and                                 )
RUDOLF GALAN; and                                     )
ADRIANA GALAN; and                                    )
JOHN DOES 1-10, intending to refer to                 )
those persons, corporations, or other legal           )
entities that acted as agents, consultants,           )
independent contractors or representatives,           )
                                                      )
        Defendants.                                   )

       PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT AGAINST SEPARATE
      DEFENDANTS RUDOLF GALAN AND ADRIANA GALAN AND FOR ENTRY OF
                FINAL JUDGMENT AGAINST ALL DEFENDANTS.

        Comes now, the Plaintiff, by and through undersigned counsel, and hereby files this Motion

for Default and Final Judgment for those reasons set out in this Court’s Orders of September 28,

2018 (Dkt. No. 70) and those set out in the subsequent status reports filed by the Plaintiff with this

Court on April 18, 2019 (Dkt. No. 86) and May 17, 2019 (Dkt. No. 87), all of which are

incorporated herein by Reference.

        As clearly evidenced by the Record in this case, the Corporate defendant has refused to

appear through counsel despite this Court’s repeated admonishments that continued refusal to do

so as required by law would result in entry of the default judgment ultimately filed by the Clerk of

this Court on September 28, 2018 (Dkt. No. 71). As also clearly evidenced by the record in this

case, the individual defendants, who are the sole owners and proprietors of the defaulted corporate
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defendant, provided this Court and their prior counsel false information regarding a valid address

at which they could be served if this Court allowed the withdrawal of their counsel of record (See

Dkt. No. 61) and did so in direct contravention of this Court’s October 10, 2017 Order. (Dkt. No.

58). Thereafter the individual defendants have fled and/or evaded all further service attempts by

both Plaintiff and this Court at this or any other address as evidenced by the Record.

        Therefore, pursuant to Fed. R. Civ. P. 16(f)(1)(C) and Fed. R. Civ. P. 37(b)(2)(A)(vi), as

well as pursuant to the inherent authority vested in this Court to enforce it orders related to the pre-

trial conduct of the parties before this Court and sanction those parties for noncompliance, requests

entry of Default Judgement against the individual Defendants Rudolf Galan and Adriana Galan,

and entry of final judgement, jointly and severally, against all Defendants in this matter. Plaintiff

requests such final judgment in the proscribed statutory amount of $1,500.00 for knowing

violations of the TCPA as alleged in the Complaint in this matter.

        In addition, given that incredibly substantial attorney time has been invested in this case

because its putative nationwide class nature that cannot now be realized because of Defendants’

misconduct and attempt to flee the jurisdiction of this Court, Plaintiff seeks an award of

attorney’s fees pursuant to the mandate of Fed. R. Civ. P. 16(f)(2) in the amount of

$137,463.76 and reimbursement of costs expended in the amount of $1,773.89 based upon the

Declarations of Joe P. Leniski of Branstetter Stranch & Jennings, LLP (Ex. A) and James A.

Streett of the Streett Law Firm, P.A. (Ex. B) regarding the attorney time and expenses incurred

over the four years this case has been actively prosecuted.

        Although recovery of any of the forgoing sums is, to be perfectly candid, unlikely given

the inability of Plaintiff, despite its best efforts and despite the aid of Canadian law enforcement

and private investigators, to locate the Defendants subsequent to their (thus far successful)



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absconding, the forgoing represents a meaningful attempt to hold these Defendants accountable

for their misconduct while at the same time nonetheless closing this case in recognition of Plaintiff

and the Court’s inability to further locate Defendants.

DATED: June 6, 2019                   Respectfully Submitted,

                                              /s/ Joe P. Leniski, Jr.___________
                                              Joe P. Leniski, Jr. (TN Bar No. 22891)(PHV)
                                              BRANSTETTER, STRANCH &
                                              JENNINGS, PLLC
                                              223 Rosa L. Parks Ave., Suite 200
                                              Nashville, Tennessee 37203
                                              (615) 254-8801
                                              joeyl@bjsfirm.com

                                              Alex G. Streett (65038)
                                              James A. Streett (2007092)
                                              STREETT LAW FIRM, P.A.
                                              107 West Main
                                              Russellville, AR 72801
                                              (479) 968-2030
                                              Alex@StreettLaw.com
                                              James@StreettLaw.com

                                              Attorneys for Plaintiff


                                 CERTIFICATE OF SERVICE

     I, the undersigned, do hereby certify that a true and correct copy of the foregoing document
has been sent this date, June 6, 2019, via U.S. Mail to the following:

       Mr. Rudolf Galan
       Ms. Adriana Galan
       85024-1250 Main Street
       Stittsville, ON Canada
       K2S 1X6

       Crystal Queen, Inc. d/b/a Crystal Training
       c/o Mr. Rudolf Galan
        85024-1250 Main Street
       Stittsville, ON Canada
       K2S 1X6
                                              /s/ Joe P. Leniski, Jr.________________
                                              Joe P. Leniski, Jr.

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